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Fillin this information to identify your case:

United States Bankruptcy Court for the:
_ Western District of Kentucky

: Case number (if known):

 

Chapter 7
2 Chapter 11
( Chapter 12
QO) Chapter 13

CY Check if this is an
amended filing

i
i
Chapter you are filing under:
i
|

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—calied a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

an Identify Yourself

12/15

 

 

identification to your meeting
with the trustee.

 

 

 

Suffix (Sr., Jr, Il, Hl)

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your
government-issued picture Stacy -
identification (for example, First name First name
your driver's license or Renee
passport). Middle name Middle name
Bring your picture Warfield
Last name Last name

Suffix (Sr., Jr., if, HN)

 

 

 

 

 

 

 

 

(ITIN)

 

2. All other names you N/A
have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middie name
Last name Last name
3. Only the last 4 digits of
your Social Security wx - xx -_6 _5 7 6 OK OK
number or federal OR OR
Individual Taxpayer
identification number 9x - x - — ——- 9x - x -

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 1
 

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Debtor 1 Stacy Renee Warfield
First Name Middle Name Last Name
About t Debtor = 1:

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

WJ | have not used any business names or EINs.

Case number (if known).

 

About Debtor 2 (Spouse Only in a Joint Case):

CU) | have not used any business names or EINs.

 

Business name

Business name

 

Business name

EIN”

EIN”

Business name

EIN”

EIN”

 

5. Where you live

8013 Blake Ln
Number Street

 

 

 

Louisville KY 40258
City State ZIP Code
Jefferson

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

Number Street

 

If Debtor 2 lives at a different address:

 

Number Street

 

 

City State ZIP Code

 

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

Number Street

 

 

 

P.O. Box P.O. Box
City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

 

i Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(1 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

C) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(J | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 
 

Debtor 1

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Stacy

First Name

Middle Name

Warfield

Last Name

Renee

Case number (if known)

Tell the Court About Your Bankruptcy Case

7.

 

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Aiso, go to the top of page 1 and check the appropriate box.

| Chapter 7

CL] Chapter 11
() Chapter 12
C) Chapter 13

 

How you will pay the fee

C) | will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behaif, your attorney may pay with a credit card or check
with a pre-printed address.

() I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

i | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

'9. Have you filed for G4 No
bankruptcy within the
last 8 years? Cl Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy W No
cases pending or being
filed by a spouse who is ) Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM/DD/YYYY
11. Do you rent your LINo. Go toline 12.
residence? (4 Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

(2 No. Go to line 12.

C) Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3
 

Debtor 1

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Stacy

First Name

Middle Name

Renee Warfield

Last Name

Case number (i known),

Report About Any Businesses You Own as a Sole Proprietor

12.

 

Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

No. Go to Part 4.

() Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City State ZIP Code

Check the appropriate box to describe your business:

U) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

Od None of the above

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of smal!

business debtor, see
11 U.S.C. § 101(51D).

if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can Set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

No. tam not filing under Chapter 11.

CNo. 1am filing under Chapter 11, but | am NOT a small business debtor according to the definition in

the Bankruptcy Code.

CQ] Yes. 1am filing under Chapter 11 and | am a small business debtor according to the definition in the

Bankruptcy Code.

EE revert if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

14,

Official Form 101

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

{Z No
L) Yes. What is the hazard?

 

 

If immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State

 

ZIP Code

 

Voluntary Petition for Individuals Filing for Bankruptcy

page 4

 
 

 

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Debtor 1 Stacy

Renee Warfield

First Name Middle Name Last Name

Case number (if known),

Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

 

“About Debtor 1:

You must check one:

Wl i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C} | certify that 1 asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
_May be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

QC) 1am not required to receive a briefing about
credit counseling because of:

C Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

Cl] Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

 

‘About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

L) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

CI | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

] 1 am not required to receive a briefing about
credit counseling because of:

Q Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

QO Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 5
 

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Debtor 1 Stacy

First Name Middle Name

Renee Warfield

Last Name

Case number (i known),

 

RT answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

16. What kind of debts do
you have?

L} No. Go to line 16b.
UW Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

W No. Go to line 16c.
C2 Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after

any exempt property is

CI No. 1am not filing under Chapter 7. Go to line 18.

U Yes. 1am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and Wi No
administrative expenses
are paid that funds will be OQ) Yes
available for distribution
to unsecured creditors?
18. How many creditorsdo J 1-49 Q) 1,000-5,000 L) 25,001-50,000
you estimate that you LJ 50-99 U 5,001-10,000 L 50,001-100,000
owe? LJ 100-199 L) 10,001-25,000 CJ) More than 100,000
C] 200-999
19. How much do you 2 $0-$50,000 UJ $1,000,001-$10 million LJ $500,000,001-$1 billion

estimate your assets to
be worth?

CJ $50,001-$100,000
C] $100,001-$500,000
CJ $500,001-$1 million

CJ $10,000,001-$50 million
CJ $50,000,001-$100 million
C) $100,000,001-$500 million

L $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
C) More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

GExEal sion Below

For you

Official Form 101

WA $0-$50,000

LJ $50,001-$100,000
LJ $100,001-$500,000
CJ $500,001-$1 million

UC) $1,000,001-$10 million

CJ $10,000,001-$50 million
(J $50,000,001-$100 million
LJ $100,000,001-$500 million

LJ $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
C} $10,000,000,001-$50 billion
CJ More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13

of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out

this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection

with a bankruptcy case can result in fines up $9 $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, TLL. 3571.
X KG«, [ :

  

 

 

 

X wa
- 7
Signature of Bebtor 1 Signature of Debtor 2
Executed on ( A 0 0 Executed on

MM / DD /YYYY

Voluntary Petition for Individuals Filing for Bankruptcy

MM / DD /YYYY

page 6
 

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Debtor 4 Stacy Renee Warfield Case number (i known)

First Name Middle Name Last Na

 

. |, the attomey for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility

For your attorney, if you are 4 proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no

If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

by an attorney, you do not

need to file this page.

pas x N/A Date

Signature of Attorney for Debtor MM / DD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

 

City State ZIP Code
Contact phone Email address
Bar number State

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
 

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Debtor 1 Stacy Renee Wa rfield Case number (if known),
First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
- bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
_ If you are represented by
_ an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

_ need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and compiete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

 

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LY No
Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

2 No
A Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

No

CL) Yes. Name of Person, ;
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that I understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

xavla, I/ Jol (al X WA

 

 

 

 

 

Signature of Bebtor 4 Signature of Debtor 2
Date i Date
MM/DD /YYYY MM/ DD /YYYY
Contact phone Contact phone
Cell phone (502) 930-4012 Cell phone
Email address Slaniee35@gmail.com Email address

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
 

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B 201B (Form 201B) (12/09)

UNITED STATES BANKRUPTCY COURT

 

Eastern District of Kentucky
Inre Stacy Renee Warfield Case No.
Debtor
Chapter 7

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF THE BANKRUPTCY CODE

Certification of [Non-Attorney] Bankruptcy Petition Preparer
I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

 

 

N/A
Printed name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy petition
Address: preparer is not an individual, state the Social Security
number of the officer, principal, responsible person, or
partner of the bankruptcy petition preparer.) (Required
xX N/A by 11 U.S.C. § 110.)

 

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy

   

 

Code.

Stacy Renee Warfield x Ob AS-Qla 0
Printed Name(s) of Debtor(s) Signature of D Date
Case No. (if known) X_N/A

 

Signature of Joint Debtor (if any) Date

 

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has

NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
 

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Fill in this information to identify your case:

Debtor 1 Stacy Renee Warfield

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First Name Middle Name Last Name

Debtor 2 N/A

 

(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Western District of Kentucky

Case number
(If known)

 

 

 

() Check if this is an

amended filing
Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/16

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Ee Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

Q) Married
Zi Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

Wf No

Q) Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 4: _ Dates Debtor 1 Debtor 2: Dates Debtor 2
“ftived there : lived there
UY same as Debtor 1 C) same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
UL) same as Debtor 1 L) same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

_ 3. Within the last 8 years, did you ever live with a spouse or tegal equivalent in a community property state or territory? (Community property
: States and territories include Arizona, California, \daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Wf No

LJ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 

Explain the Sources of Your Income
Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
 

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Debtor 1 Stacy Renee Warfield

Case number (if known),
First Name Middle Name Last Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?

Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

L) No
Wi Yes. Fill in the details.

 
    

   

 

 

 

Grogs income Sources Gross income
(before deductions and = Check all | {before deductions and:
exclusions) tl exclusions). :
From January 4 of current year until Q Wages, commissions, $ Q Wages, commissions, $
the date you filed for bankruptcy: bonuses, tips es bonuses, tips
a Operating a business ) Operating a business
. wi Wages, commissions, Q) Wages, commissions,
For last calendar year: bonuses, tips $ 0 e 00 bonuses, tips $
(January 1 to December 31 201 18) ©) operating a business (J Operating a business
For the calendar year before that: wi Wages, commissions, QO Wages, commissions,
. bonuses, tips $ 28,112.00 bonuses, tips $
(January 1 to December 31,2017 ) (2D Operating a business LD Operating a business

YYYY

 

5. Did you receive any other income during this year or the two previous calendar years?

Include income regardiess of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Wf No

Q) Yes. Fill in the details.

 
    

From January 1 of current year until
the date you filed for bankruptcy:

(before deductions and
exclusions)

 

For last calendar year:

 

 

(January 1 to December 31,--_—+)
YY

 

 

 

 

 

 

 

 

 

 

 

 

 

For the calendar year before that: $
(January 1 to December 31, _-:: __)
YYYY
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 12 of 73

Debtor 1 Stacy Renee Warfield Case number (if known),

First Name Middie Name Last Name

 

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?

C] No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debits are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

CJ No. Go to line 7.

LJ Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

wi Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Wa No. Go to line 7.
C) Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

$ $ L} Mortgage
C) car

Number Street (2 credit card

 

 

Creditor’s Name

 

 

O Loan repayment

 

O Suppliers or vendors

 

City State ZiP Code C) other

 

 

 

= $ $ ) Mortgage
Creditor’s Name
UL) car
Number Street Credit card

 

O Loan repayment

 

Q Suppliers or vendors

 

 

 

 

 

 

City State ZIP Code LI other
i $ $ Q Mortgage
Creditors Name
Q) car
Number Street CY credit cara

 

C) Loan repayment

 

Q Suppliers or vendors
CL other

 

City State ZIP Code

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3
 

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Debtor 4 Stacy Renee Warfield

Case number (if known),
First Name Middle Name Last Name

 

_ 7. Within 4 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

Wi No

C3 Yes. List ali payments to an insider.

 

 

 

 

 

 

 

“Dates of —Totalamount _ Amountyoustill' Reason for this payment
: $ $
insiders Name
Number Street
City State ZIP Code
$ $

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

 

 

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on débts guaranteed or cosigned by an insider.

Wf No

Q) Yes. List all payments that benefited an insider.

   

 

 

 

 

 

 

‘Total amount
paid
Insiders Name § 8
Number Street
City State ZIP Code
$ $

 

Insider's Name

 

Number Street

 

 

 

 

City State ZIP Code

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 14 of 73

Debtor 1 Stacy Renee Warfield

Case number (if known),
First Name Middle Name Last Name

identify Legal Actions, Repossessions, and Foreclosures

_ 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

Wi No

CJ Yes. Fill in the details.

    

 

 

 

 

 

 

 

 

| Court or agency
Case title Court Nama a Pending
On appeal
Number Street UL) conctuded
Case number
City State ZIP Code
Case title Court Name QC) Pending
Q On appeal
Number Street Q Concluded
Case number
City State ZIP Code

 

 

 

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

Ww No. Go to line 11.
C) Yes. Fill in the information below.

 

Creditor’s Name

 

Number Street

 

Q Property was repossessed.

O Property was foreclosed.

C) Property was garnished.

City State ZIP Code QO Property was attached, seized, or levied.

 

 

     

 

 

 

Creditors Name

 

Number Street

 

 

Property was repossessed.

Property was foreclosed.

Property was garnished.

Property was attached, seized, or levied.

 

City State ZIP Code

COOO

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 
 

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Debtor 1 Stacy Renee Warfield Case number (if known),

First Name Middle Name Last Name

© 44. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
: accounts or refuse to make a payment because you owed a debt?

Wi No

LJ Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

Creditor's Name me — =

i

$
Number Street

4
City State ZIP Code Last 4 digits of account number: XXXX-__

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

wi No
CQ) Yes

List Certain Gifts and Contributions

 

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

Wi No

C2 Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts "Bates you gave Value
per person oe . : the gifts
5 0.00
Person to Whom You Gave the Gift
$ 0.00
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with @ total value of more than $600 __Describe the gifts Dates yougave Value
per parson : : __ the gifts
- $ 0.00
Person to Whom You Gave the Gift TT
$ 0.00

 

Number Street

 

City State ZIP Code

 

Person's relationship to you

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
 

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Debtor 1 Stacy Renee Warfield Case number (i known)

First Name Middle Name Last Name

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

J No

Q) Yes. Fill in the details for each gift or contribution.

_ Gifts or contributions to charities

   

 

 

c uo Value co
$ 0.00

Charity’s Name
$ 0.00

 

Number Street

 

City State ZIP Code '

List Certain Losses

15. Within 4 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

WM No

L) Yes. Fill in the details.

 

1

 

 

operty youlost and Describe any ingurance coverage forthe loss =-===*S«ét of your ——_Value of property
how tne lows cocurned - Wriclude the amount that insurance has paid. List pending insurance ‘** = ——_—siost
Property. :

Claims on line 33 of. Schedule AG:

 

$ 0.00

 

 

 

 

 

Ed e-: Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

J No

CI} Yes. Fill in the details.

_ Description and value of any property transferred

 

 

Person Who Was Paid ee

 

 

 

Number Street | | $ 0. 00
$ 0.00
City State ZIP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 
 

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Debtor 4 Stacy Renee Warfield Case number (if known),

First Name Middie Name Last Name

 

 

 

 

Person Who Was Paid $ 0.00
Number Street
$ 0.00

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you fisted on line 16.

Wf No

CJ Yes. Fill in the details.

 

 

 

 

Person Who Was Paid

$ 0.00
Number Street

$ 0.00

 

City State ZiIPCode

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
a not include gifts and transfers that you have already listed on this statement.
No

C) Yes. Fill in the details.

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

 

Person's relationship to you

 

 

Person Who Received Transfer

 

Number Street

 

 

 

 

City State 2!P Code

 

 

 

 

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
 

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Debtor 1 Stacy Renee Warfield Case number (if known),

First Name Middie Name Last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

i No

CQ Yes. Fill in the details.
ats ranater

 
    

Nameoftrust :

 

 

 

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
‘ closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

Wi No

CI) Yes. Fill in the details.

 

 

Name of Financial Institution

XXXX—_ OQ) checking $ 0.00

Q Savings

 

Number Street
Q Money market

 

Q Brokerage
City State ZIP Code C2 other

 

 

XXXX—___ CO) checking $ 0.00

 

Name of Financlal Institution

QO Savings

 

Number Street QO Money market
OQ) Brokerage
C2 other

 

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

Wf No

CD Yes. Filt in the details.

   

 

 

Name of Financial institution Name : CO Yes

 

 

Number Street Number Street

 

 

City State ZIP Code

 

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy : page 9

 
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Debtor 1 Stacy Renee Warfield

Case number (i known)
First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

CI Yes. Fill in the details.

  

 

 

- Do you stil!
~ONo
Name of Storage Facility Name : O Yes
Number Street Number Street

 

City State ZIP Code

 

 

City State _ ZIP Code

Part 9: identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

No
CD Yes. Fill in the details.

 

 

 

 

 

 

 

 

Owner's Name $ 0.00
b Street
Number Street
City State ZIP Code
City State ZIP Code

 

 

eke oe Detalis About Environmental information

> For the purpose of Part 10, the following definitions apply:

@ Environmental law means any federai, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wi No

CD Yes. Fill in the details.
Governmental unit

  

Date of notice

 

Name of site Govermmentai unit

 

 

Number Street Number Street

—
City State ZIP Code

 

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

 

 
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Debtor 1 Stacy Renee Warfield Case number (if known),

First Name Middle Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

Wi No

(J Yes. Fill in the details.

 

Govemmental unit. Environmental law, if you know it Date of notice

 

 

 

 

 

Name of site Govemmental unit
Number Street Number Street
City State ZIP Code

 

 

City State ZIP Code

 

 

 

_ 26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

i No

C2 Yes. Fill in the details.

 

 

 

 

 

Court or agency . Nature of the case caae. rot the
Case title :
Court Name Q Pending
Q On appeal
Number Street : O) conctuded
Case number City State ZIP Code

 

Part 11: | Give Detalls About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
QO Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C) A member of a limited liability company (LLC) or limited liability partnership (LLP)
CQ) A partner in a partnership
CJ An officer, director, or managing executive of a corporation

C) An owner of at least 5% of the voting or equity securities of a corporation

a No. None of the above applies. Go to Part 12.

C) Yes. Check all that apply above and fill in the details below for each business. .

Describe the nature of the business "Employer identification number
ee -, Do not Include Social Security number or ITIN.

 

Business Name

 

Number Street

 

_ Name of accountant or bookkeeper

 

From To

 

City State ZIP Code

 

   

 

 

Business Name

 

 

 

 

EIN;
Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code

 

 

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 11
 

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Debtor 1 Stacy Renee Warfield Case number (i known),

First Name Middle Name Last Name

 

 

» the nature. ofthe business. Employer identification number
ES hie aad Se ‘Do not Include Social Security number or ITIN.

Business Name

            

 

 

 

Number Street

  

 

From To

 

 

City State ZIP Code

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

Wi No

CJ Yes. Fill in the details below.
| Date Issued

 

Name MM/DD/ YYYY

 

Number Street

 

 

City State ZIP Code

 

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penaity of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

Stax hf, f, ( % NWA

Signature of Debfir 1 Signature of Debtor 2

val) / -AS- ab Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

W No
C) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
wt No

C) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 22 of 73

Fillin this information to identify your case:

Debtor 1 Stacy Renee Warfield

First Name Middle Name Last Name

Debtor 2 N/A

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Western District of Kentucky

Case number () Check if this is an
{If known) amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 :2:

 

If you are an individual filing under chapter 7, you must fill out this form if:

™ creditors have claims secured by your property, or

™ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

 

 

 

Identify the crec What do you intend to do with the property thet Did you claim the property _
- secures a debt? oe : es exempt.on Schedule C?
Creditor’s LJ Surrender the property. Q) No
name: N/A
i L) Retain the property and redeem it. U) Yes
prepety of CJ Retain the property and enter into a
securing debt: Reaffirmation Agreement.

C) Retain the property and [explain]:

 

 

 

 

 

Creditor's CQ) Surrender the property. CI No
nn ~~ " () Retain the property and redeem it. QO ves
ropety or QO) Retain the property and enter into a

securing debt: Reaffirmation Agreement.

C) Retain the property and [explain]:

 

 

 

a eator’s C) Surrender the property. CO No
. _ CI Retain the property and redeem it. Q) Yes

oropery of C3 Retain the property and enter into a

securing debt: Reaffirmation Agreement.

CL) Retain the property and {explain}:

 

 

 

Creditors LJ Surrender the property. C} No

3 ™ onat me ~~~ (] Retain the property and redeem it. QC) Yes
escription o

property CJ Retain the property and enter into a

securing debt: Reaffirmation Agreement.
(J Retain the property and [explain]:

 

 

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1
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Debtor 1 Stacy Renee Warfield Case number (if known),

First Name Middle Name Last Name

List Your Unexpired Personal Property Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S. c. § 365(p)(2).

 

 

 

 

 

 

 

 

 

 

 

 

 

Describe your. unexpired personal property leases / . - a Will the lease be assumed?
Lessor’s name: OQ) No
_ Q) Yes
Description of leased
property:
Lessor’s name: C2 No
a ~ Dyes
Description of leased
property:
Lessor’s name: C) No
Description of leased CL) Yes
property:
Lessor’s name: (3 No
cnet some | Yes
Description of teased
property:
Lessor’s name: No
a UL) Yes
Description of leased
property:
Lessor’s name: CI No
- ~ C) Yes
Description of leased
property:
Lessor’s name: LY No
~~ O Veg

Description of leased
property:

 

 

 

 

 

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an ~C lease.

xckan [ol Se

Signature of Debtors for

xX NIA

Signature of Debtor 2

Date O [ Date

MM/ DD / YYYY MM/ DD/ YYYY

 

  

Official Form 108 Statement of intention for Individuals Filing Under Chapter 7 page 2
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 24 of 73

Fillin this information to identify your case and this filing:

Debtor 1 Stacy Renee Warfield

First Name Middle Name Last Name

Debtor 2 N/A

 

 

(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Western District of Kentucky

Case number

 

CI Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 4215

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

‘clase Describe Each Residence, Building, Land, or Other Reali Estate You Own or Have an Interest in

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

W No. Go to Part 2.
C) Yes. Where is the property?

 

What is the property? Check all that apply. Do not ded ee i claime ore 6 Put
Q Single-family home the amount of any. secured claims on Schedule D:

1.1. Creditors Who Have Claims Secured by Property.

CJ Duplex or multi-unit building

 

Street address, if available, or other description

 

 

 

 

 

 

 

 

CJ Condominium or cooperative Current value of the Current value of the
CJ Manufactured or mobile home entire property? portion you own?
OQ) Land $ 0.00 ¢ 0.00
LU) investment property
. (J timeshare Describe the nature of your ownership
City State ZIP Code O oth interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
CI Debtor 1 only

County C) Debtor 2 only
QO] Debtor 1 and Debtor 2 only O Check if this is community property
[J At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:

If you own or have more than one, list here:

What is the property? Check all that apply.

 

 

 

 

 

 

 

 

U) Single-family home the. amount of any any secured claims on Schade 0:
1.2. — — CJ Duplex or multi-unit building we ave by Prop .
Street address, if available, or other description . ; RS SELL ea etionad schanaiatatnees ee
U) Condominium or cooperative Current value of the Current value of the
C) Manufactured or mobile home entire property? portion you own?
CY Land $ 0.00 $ 0.00
L) investment property :
. Describe the nature of your ownership
City State ZIP Code U) Timeshare interest (such as fee simple, tenancy by
Q) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
L) Debtor 1 only
County C) Debtor 2 only
C) Debtor 1 and Debtor 2 only ie Check if this is community property

LJ At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

Official Form t06A/B Schedule A/B: Property page 1
 

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Stacy Renee

First Name

Debtor 1
Middle Name

Last Name

Warfield

 

4.3.

 

Street address, if available, or other description

 

 

City State

ZIP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...........0... 0c ccc cc cc eeceeee eee ecaeeneeeeeseeseeeceeeeeseennesaeennenas >

Describe Your Vehicles

Wi No
UL Yes

3.1. Make:
Model:
Year:

Approximate mileage:

 

 

Other information:

 

 

 

 

3.2, Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

 

What is the property? Check all that apply.
Q Single-family home

im Duplex or multi-unit building

LJ Condominium or cooperative

(J Manufactured or mobile home

CJ Land

L} investment property

CJ Timeshare

CJ other

 

Who has an interest in the property? Check one.

CQ Debtor 1 only

UC) Debtor 2 only

L} Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

Case number (if known),

   
 

Do ot deduct secured ins or xompions. Put

Current value of the “Current value of the. :

entire property? portion you own?
$ 0.00 ¢ 0.00

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

 

C2 check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

5 0.00

 

 

 

 

 

 

If you own or have more than one, describe here:

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Who has an interest in the property? Check one.
C) Debtor 1 only

() Debtor 2 only

C] Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

CJ Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
CJ Debtor 1 only

QQ] Debtor 2 only

LY Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

CL) check if this ts community property (see
instructions)

- Do not deduct secured claims or exemptions. :Put
“the amount of any secured claims on Schedule D:

Current value of the Current value of the

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

‘De nk dada secsied cisions or exenplions. Pat

the amount of any secured ciaims on Schedule D:

Grecia Who Hove Clatios Secaited ty Propanty. :

 

Current value of the Current value of the

entire property? portion you own?

5 0.00 ¢ 0.00

 

Creditors Who Have Claims Secured by Property.

Raku UNO

entire property? portion you own?

$ 0.00 ¢ 0.00

 

 

 

Official Form 106A/B

Schedule A/B: Property

page 2
 

Case 20-30300-acs

 

 

Case number (if known)

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Who has an interest in the property? Check one.

Debtor 1 Stacy Renee Warfield
First Name Middle Name Last Name
3.3. Make:
Model: CJ Debtor 1 only
(} Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

Make:
Model:

Year:

3.4.

Approximate mileage:

Other information:

 

 

 

 

CJ Debtor 1 and Debtor 2 only
L} At teast one of the debtors and another

U] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C) Debtor 1 only

CJ Debtor 2 only

LI) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

L) Check if this is community property (see
instructions)

  

De not ded secured sai or sxmptons. Put
secured 2

 

Current value of the Current value of the
entire property? portion you own?

$ 0.00 ¢ 0.00

 

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:.-
Creditors Whore Gleins Socared by Property.

 

Current value of the Current value of the
entire property? portion you own?

5 0.00 0.00

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

4 No
C] Yes

Make:
Model:

4.1.

Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

Make:
Model:

4.2.

Year:

Other information:

 

 

 

 

» 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Who has an interest in the property? Check one.
CI Debtor 1 only

LJ Debtor 2 only

C} Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

(J Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 1 only

C) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C] Check if this is community property (see
instructions)

 

Official Form 106A/B

 

fs wietet any ecole eae

‘Creditors Who Have Claims Secured by Property.

4

 

Current value ofthe Current value of the

entire property? portion you own?

5 0.00 g

 

Do not deduct secured claims or exemptions. Put

the amount of any secured claims on Schedule D:
Credors Who Have Clans Secured by Properly,

Current value ofthe Current value of the
entire property? portion you own?

$ 0.00 0.00

 

 

Schedule A/B: Property

page 3

 

 

0.00 |

 
 

 

 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 27 of 73

Debtor 1 Stacy Renee Warfield

Case number (if known)
First Name Middle Name Last Name

     

Describe Your Personal and Household Items

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Do you own or have soy legal oc canine intaron In any of the Etowing foe’ portion you 2
: : Do not deduct secured claims
‘of exemptions:
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
CJ No
Yes. Describe......... Living room furnitures $300 / bedroom $300 - lamps $75 -dinette set $60 $ 735.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
LJ No
2 Yes. Describe.......... 2-32'TV'S $400 $ 400.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
(4 No
C) Yes. Describe.......... $ 0.00
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
b4 No
QI Yes. Describe.......... $ 0.00»
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
b@ No :
Q) Yes. Describe.......... $ 0.00
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
LJ No
A Yes. Describe.......... Everyday cloths $400 $ 400.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
(2 No
] Yes. Describe.......... ss CC—C*i*«
13. Non-farm animals
Examples: Dogs, cats, birds, horses
bd No
UJ Yes. Describe.......... $ 0.00
14. Any other personal and household items you did not already list, including any health aids you did not list
tA No
Q Yes. Give specific $ 0.00
information. ............. oo

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here

 

 

$ 1,535.00

 

 

 

Official Form 106A/B Schedule A/B: Property

page 4

 

 

 
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 28 of 73

Debtor 1 Stacy Renee Warfield Case number (i known),

First Name Middle Name Last Name

 

 

 
  

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

   

16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
WA No
CD Ves ooo cscsccscssssssssssseeevervesessevssnsnsnnsesssessesesssaseumsmsunasasuussisssssssnaressesessssssasaaseanssuiasarssassssssssesssssessseseepsesee CaS! oo ccccccccccee $ 0.00

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
and other similar institutions. If you have multiple accounts with the same institution, list each.

1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(C) No
VOS ooo eeceseceeeee Institution name:
47.1. Checking account: Beacon Community Credit Union deposited for bills $ 800.00
17.2. Checking account: $ 0.00
17.3. Savings account: Beacon Community Credit Union $ 50.00
17.4. Savings account: $ 0.00
17.5. Certificates of deposit: $ 0.00
17.6. Other financial account: $ 0.00
17.7. Other financial account: $ 0.00
17.8. Other financial account: $ 0.00
17.9. Other financial account: 5 0.00
- 18. Bonds, mutual funds, or publicly traded stocks

Examples: Bond funds, investment accounts with brokerage firms, money market accounts

1 No

i Institution or issuer name:

0.00
0.00
$ 0.00
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in

an LLC, partnership, and joint venture

Wd No Name of entity: % of ownership:

Q Yes. Give specific 0% % $ 0.00
information about 0, TT
them... 0% % $ 0.00

0% $ 0.00

 

Official Form 106A/B Schedule A/B: Property page 5
 

 

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Debtor 1 Stacy

First Name

Renee

Middie Name Last Name

Warfield

Case number (known)

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20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

W No

C} Yes. Give specific
information about

 

 

 

21. Retirement or pension accounts

Wd No

Yes. List each

account separately. Type of account:

 

 

 

 

 

 

 

22. Security deposits and prepayments

companies, or others

WZ No

 

 

 

 

 

 

 

 

 

 

 

 

Issuer name:
$ 0.00
$ 0.00
$ 0.00
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
Institution name:
401(k) or similar plan: $ 0.00
Pension plan: $ 0.00
IRA: $ 0.00
Retirement account: $ 0.00
Keogh: $ 0.00
Additional account: $ 0.00
Additional account: $ 0.00
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
Institution name or individual:
Electric: $ 0.00
Gas: $ 0.00
Heating oil: $ 0.00
Security deposit on rental unit: Rent Deposited $ 1,600.00
Prepaid rent: $ 0.00
Telephone: Cell phone deposited $ 250.00
Water: water deposited $ 350.00
Rented furniture. _renter furnitures $ 800.00
Other: $ 0.00
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Issuer name and description:
0.00
$ 0.00
$ 0.00

 

Official Form 106A/B

Schedule A/B: Property

page 6

 

 
 

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Debtor 1 Stacy Renee Warfield Case number (if known).

First Name Middle Name Last Name

 

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

W No
CD Ves ooo ccceessesesseeseeereeees

 

 

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

$ 0.00
0.00 $ 0.00

0.00

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

No

UI Yes. Give specific
information about them.... $ 0.00 .

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: |Internet domain names, websites, proceeds from royalties and licensing agreements

Wi No

LJ Yes. Give specific
information about them.... $ 0.00

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

W No

L) Yes. Give specific
information about them.... $ 0.00

 

 

 

 

Money or property owed to you?

 

» 28. Tax refunds owed to you

W No

 

C) Yes. Give specific information Federal: $ 0.00
about them, including whether —-e_—_,_,rr
you already filed the returns State: $ 0.00
and the tax years... Local: $ 0.00

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

W No

 

 

 

 

 

 

 

 

UL) Yes. Give specific information..............
Alimony: $ 0.00
Maintenance: $ 0.00
Support: $ 0.00
Divorce settlement: $ 0.00
Property settlement: $ 0.00

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
. Social Security benefits; unpaid loans you made to someone else
WI No
UI Yes. Give specific information. ..............
$ 0.00

Official Form 106A/B Schedule A/B: Property page 7
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 31 of 73

Debtor 1 Stacy Renee Warfield Case number (known)

 

 

First Name Middle Name Last Name

 

 

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

W No

CJ Yes. Name the insurance company
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

property because someone has died.

WJ No

 

L) Yes. Give specific information..............

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

(2 No

 

CL} Yes. Describe each claim...

 

 

to set off claims

A No

 

 

CJ Yes. Describe each claim...

 

 

 

* 35. Any financial assets you did not already list

 

2 No

L) Yes. Give specific information............

 

 

Company name: Beneficiary: Surrender or refund value:
$ 0.00
0.00
$ 0.00
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
$ 0.00
$ 0.00
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
$ 0.00
$ 0.00
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that MUMber MELE oo occ sessssssssesesssssicessssnnnessessnnenssesstueessrassessavausesessunsstesuustsssanivusessansnsasennaseess > $ 3,850.00

 

 

 

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
0 No. Go to Part 6.
UJ Yes. Go to line 38.

38. Accounts receivable or commissions you already earned

No

Current value of the

portion you own?

Do notideduct secured claims /

or exemptions. ;

 

(Cl Yes. Describe.......

 

39. Office equipment, furnishings, and supplies

Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

W No

 

Cl Yes. Describe.......

 

0.00

0.00

 

 

Official Form 106A/B Schedule A/B: Property

page 8

 

 
 

Case 20-30300-acs Doci_ Filed 01/28/20 Entered 01/28/20 16:10:14

Debtor 1 Stacy Renee Warfield Case number (if known).

 

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First Name Middie Name Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

Wi No

 

CJ Yes. Describe........

8 0.00

 

41. Inventory

 

Wl No
QJ Yes. Describe........

 

42. Interests in partnerships or joint ventures

Wi No
C) Yes. Describe.......

%
%

 

%

 

43. Customer lists, mailing lists, or other compilations
WJ No

O) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
UC) No

Name of entity: % of ownership:

s 0.00

5 0.00
$ 0.00 .
$ 0.00

 

U) Yes. Describe........

 

$ 0.00

 

 

44. Any business-related property you did not already list
Wd No

C) Yes. Give specific
information .........

 

 

 

 

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

for Part 5. Write that mumber Mere ooo ccc ceescsescsesescsssesesccsevssuseesescanscecscacecevasesscsencececetscatetecesstacseacegevsesaseataeces >

0.00
0.00
0.00
0.00.
0.00
0.00.

APPA Ff fA FH wH

 

$ 0.00

 

 

 

 

 

FT e aos Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.

If you own or have an interest in farmland, list it in Part 1.

 

; 46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

P| No. Go to Part 7.
L) Yes. Go to line 47.

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

Gd No

 

 

 

 

$ 0.00

 

 

 

 

Official Form 106A/B Schedule A/B: Property

page 9

 

 
Case 20-30300-acs Doci_ Filed 01/28/20

Debtor 1 Stacy Renee Warfield

Case number (i known),

 

First Name Middle Name Last Name

48. Crops—either growing or harvested

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Wd No
L) Yes. Give specific
information. ............ $ 0.00
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
Wd No
he  /-
§ 0.00
50. Farm and fishing supplies, chemicals, and feed
Wd No
QD YES oie
$ 0.00
51. Any farm- and commercial fishing-related property you did not already list
Wd No
CL) Yes. Give specific
information. ............ $ 0.00
52. Add the dollar value of al! of your entries from Part 6, including any entries for pages you have attached $ 0.00
for Part 6. Write that number here
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
Wi No $ 0.00
L) Yes. Give specific
information. ............ 0.00
0.00
' 54. Add the dollar value of all of your entries from Part 7. Write that number here 2. tse ceeneeeeeeeeneenes > 0.00
List the Totals of Each Part of this Form
55. Part 1: Total real estate, We 2 ooo ccccccccssesssessssesssesssssescssssssscsvessassssuvacsnsesssseessesssseesssessssessnsecsseesiseesuesestecestveqaucesesvesanessaeceetees > $§$ 0.00
56. Part 2: Total vehicles, line 5 $ 0.00
57. Part 3: Total personal and household items, line 15 $ 1,535.00
58. Part 4: Total financial assets, line 36 $ 3,850.00
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not listed, line 54 +$ 0.00
62. Total personal property. Add lines 56 through 61. ......0.0.0... $ 5,385.00 Copy personal property total > +3 5,385.00
63. Total of all property on Schedule AIB. Add line 55 + line 62........cscscssvscssessustscteetssteetcescetetessinetnnieseessesnee $ 5,385.00

 

 

 

Official Form 106A/B Schedule A/B: Property

page 10

 

 
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 34 of 73

Fillin this information to identify your case:

 

 

 

Debtor 4 Stacy Renee Warfield
First Name Middle Name Last Name

Debtor 2 N/A

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Western District of Kentucky

Case umber LJ Check if this is an
amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. !f two married peopie are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific doilar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular doliar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Ciaim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

C) You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
P| You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Briof description of the property and line on ~ Current value of the Amount ofthe exemption you im Specific laws that allow exemption

 

 

 

 

 

Sepeciite AB that as a ree . portion youown -— oe | ce
Copy the value from Cheok ; only one bax for eech exemption
A Schedule A/B
Brief Beacon CCU $800.00 g
description: . $
Line from LJ 100% of fair market value, up to
Schedule A/B: 17 any applicable statutory limit
Brief
description, Household Goods _—_$ 735.00 4 $
: 100% of fair market value, up to
Seneduie AB: &__ any applicable statutory limit
Brief
description.  -Everyday Cloths _____ $400.00 Os
Line from C] 100% of fair market value, up to
Schedule A/B: 114 any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

wi No

(3 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
CO) No
QC) Yes

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __
 

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Debtor 1 Stacy Renee Warfield Case number (known)

First Name Middle Name Last Name

 

 

  
 
  

Additional Page

     

"Current value of the Amount of the exemption you claim

_ Specific laws that allow exemption

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a scription: Electronics === § 400.00 Os

Line from 7 3 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief .

description. -RentDeposited __— 1,600.00 O¢

Line from CJ 100% of fair market value, up to
Schedule A/B: 22 any applicable statutory limit
Brie ion: Sell phone deposited 250.00 Qs

Line from 22 CJ 100% of fair market value, up to
Schedule A/B: — any applicable statutory limit
Seczipion: teMterfurnitures _— 800.00 Os

Line from 22 LJ 100% of fair market value, up to
Schedule A/B: _ _ any applicable statutory limit
description: Water codeposited 350.00 Os

Line from C) 100% of fair market value, up to
Schedule A/B: 22 any applicable statutory limit
Brief

description: |. ———————————__ 8. Os

Line from LJ 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief

description: $ Os

Line from LJ 100% of fair market value, up to
Schedule A/B: _ __ any applicable statutory limit
Brief

description: 5 Os

Line from LJ 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief

description, |. ———————————-_ Os

Line from CL) 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief

description: |. ———————————__ § Os

Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory fimit
Brief

description: |. ———————————-__ 8 Os

Line from C) 100% of fair market value, up to
Schedule A/B:_ ——— any applicable statutory limit
Brief

description: ——_—____——_ §& Os

Line from (J 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit

Official Form 106C Schedule C: The Property You Claim as Exempt page__ of _
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 36 of 73

Fill in this information to identify your case:

Debtor 1 Stacy Renee Warfield

First Name Middie Name Last Name

Debtor 2 N/A

 

 

(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Western District of Kentucky

Case number

(If known) LJ Check if this is an

 

 

 

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12145

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

Wf No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
CI Yes. Fill in all of the information below.

icle@eee List All Secured Claims

2 List al secured

 

[ 2.4] Describe the property that secures the claim: $ 0.00 $ 0.00 $ 0.00

 

 

Creditors Name

 

Number Street

 

 

 

As of the date you file, the claim is: Check all that apply.
QO Contingent
C] unliquidated

 

 

 

   

 

City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
Q debtor 1 only C) An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only Q) Statutory lien (such as tax lien, mechanic's lien)
LJ Atleast one of the debtors and another CQ) Judgment lien from a lawsuit

QO) other (including a right to offset)
O) Check if this claim relates to a
community debt
Date debt was incurred Last4 digits ofaccountnumber
2.2 Describe the property that secures the claim: $. 0.00 $ 0.00 $ 0.00

 

 

 

Creditors Name

 

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
(2 Contingent
ig
OQ) Uniiquidated
City State ZIP Code QO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C3 Debtor 4 only O) An agreement you made (such as mortgage or secured
U2 Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic’s lien)
C) Atleast one of the debtors and another CB Judgment lien from a lawsuit

O) other (including a right to offset)
QO) Check if this ciaim relates to a

community debt
Date debt was incurred Last 4 digits of account number __

_ Add the dollar value of your entries in Column on this page. Write that number here: bB_-0.00

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 37 of 73

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 4 Stacy Renee Warfield Case number (i known)
First Name Middle Name Last Name
Additional Page
After listing any entries on this page, number them beginning with 2.3, followed
by 2.4, and so forth.
Describe the property that secures the claim: $ 0.00 $ 0.00 $ 0.00
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code (J Unliquidatea
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
QO Debtor 4 only O) An agreement you made (such as mortgage or secured
O) Debtor 2 only car loan)
(2 Debtor 4 and Debtor 2 only CJ Statutory tien (such as tax lien, mechanic's lien)
C2 Atleast one of the debtors and another C1 Judgment lien from a lawsuit
C2) Other (including a right to offset)
QC) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits ofaccountnumber—
|_| Describe the property that secures the claim: $ 0.00 $ 0.00 $. 0.00
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
O) unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
1 Debtor 1 only QC) an agreement you made (such as mortgage or secured
Cd Debtor 2 only car loan)
C1 Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic’s lien)
C1 Atleast one of the debtors and another C2 Judgment tien from a lawsuit
C} Check if this claim relates to a O other (including a right to offset
community debt
Date debt was incurred Last 4 digits of accountnumber_
Describe the property that secures the claim: $ 0.00 $ 0.00 $ 0.00
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code OQ) unliquidated
Q) Disputed
Who owes the debt? Check one. Nature of fien. Check ail that apply.
QQ Debtor 4 only C2 An agreement you made (such as mortgage or secured
QO) Debtor 2 only car loan)
() Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic’s lien)
C Atleast one of the debtors and another 1 Judgment lien from a lawsuit
) Other (including a right to offset)
CO) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber_ Le
Add the dollar vatue of your entries in Column A on this page. Write that number here: 5 0.00
If this is the last page of your form, add the dollar value totals from all pages. 0.00
cmasmmoWVfite that number here: =

Official Form 106D

 

 

 

 

 

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page __ of
Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 38 of 73

Debtor 1 Stacy Renee Warfield Case number (7 known)

First Name Middle Name Last Name

    

List Others to Be Notified for a Debt That You Already Listed

 
  

| Use this page only if you. have others to be notified about your bankruptcy fora-debt that you already listed in Part 4. or example, if acoliection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then fist the collection agency here, Similarly, if

be notified for any debts in Part 1, do not fhill out or submit this page.

» you have more than one creditor for any of the debts that you listed in Part 4, list the additional creditors here. ff you do not have additional persons to

LI

 

 

 

 

On which line in Part 1 did you enter the creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Last 4 digits ofaccountnumber
Number Street
City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number —_
Number Street
City State ZIP Code
On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber _—_
Number Street
City State ZIP Code
On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _
Number Street
City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber_— —
Number Street
City State ZIP Code

 

Official Form 106D

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

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Fill in this information to identify your case:

Debtor 1 Stacy Renee Warfield

First Name Middle Name Last Name

Debtor 2 N/A

 

 

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Western District of Kentucky

() Cheek if this is an
caeenun ber amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
Wd No. Go to Part 2.
Q) Yes.

2. List all of your priority unsecured claims. Ifa creditor has more than one priority unsecured claim, list the creditor separately for each claim, For

each claim listed, identify what type of claim it is. f a claim has both priority and nonpriority amounts, list that claim: here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name: If you have more than two priority:
unsecured claims, fil out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet)...

 

 

 

 

 

 

 

 

 

 

 

2.4
Last 4 digits of accountnumber_ SF. 0.00 $. 0.00 $ 0.00 |
Priority Creditor’s Name :
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Code C1 Contingent
; QO Unliquidated
Who incurred the debt? Check one. O bisputed
C) Debtor 1 only
C2 Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only QC) Domestic support obligations
At least one of the debtors and another CQ) Taxes and certain other debts you owe the government
C) Check if this claim is for a community debt CD Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
CJ) No O other. Specify
Q) Yes
a|

Last 4 digits of account number ___

 

0.00 , 0.00 , 0.00

——— $§

Priority Creditor’s Name
When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply
Q Contingent

City Slate ZIP Code QO) unliquidatea

Who incurred the debt? Check one. O) Disputed

( Debtor 1 only

CO) Debtor 2 onty

Q) Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

QC Check if this claim is for a community debt

Type of PRIORITY unsecured claim:

OC) Domestic support obligations

QO) taxes and certain other debts you owe the govemment
Q) Claims for death or personal injury while you were

 

intoxicated
Is the claim subject to offset? C) other. Specify
OC) No
QO) Yes

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1of____
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Renee

Middle Name

Stacy

First Name

Debtor 1

Eau Your PRIORITY Unsecured Claims — Continuation Page

| After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

 

Last Name

 

 

 

 

Warfield

 

Case number (i known),

oe

Ue

 

      

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

= Last 4 digits ofaccountnumber_ ss  t—iésSS 0.00 s___0.00 0.00
Priority Creditors Name i
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code O) unliquidated
Q Disputed
Who incurred the debt? Check one.
O) Debtor 1 only Type of PRIORITY unsecured claim:
5 Debtor 2 only 2 Domestic support obligations
Debtor 1 and Debtor 2 only O) Taxes and certain other debts you owe the government
O) At least one of the debtors and another . _. :
Q) Claims for death or personal injury while you were
U Check if this claim is for a community debt intoxicated
C) other. Specify
Is the claim subject to offset?
() No
QO) Yes
: Last 4 digits of account number _ ___—tiéS 0.00 s 0.00 5 0.00
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code O unliquidated
Q Disputed
Who incurred the debt? Check one.
CJ Debtor 1 only Type of PRIORITY unsecured claim:
4 Debtor 2 only OQ) Domestic support obligations
Debtor 1 and Debtor 2 only () Taxes and certain other debts you owe the government
CO Atleast one of the debtors and another . a P
Q) Claims for death or personal injury while you were
O Check if this claim is for a community debt intoxicated
C) other. Specify
. Is the claim subject to offset?
CI No
O) Yes
Last 4 digits ofaccount number $, 0.00 s 0.00 s 0.00
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check ail that apply.
QO Contingent
City State ZIP Code 2) unliquidated
O disputed
Who incurred the debt? Check one.
QO Debtor 1 only Type of PRIORITY unsecured claim:
ti i
4 cee wap btor 2 on! O) Domestic support obligations
eptor and Debtor 2 only (2) Taxes and certain other debts you owe the government
CD At least one of the debtors and another oO . _.
Claims for death or personal injury while you were
C) Check if this claim is fora community debt intoxicated
QO) other. Specify
is the claim subject to offset?
CO) No
C) yes

 

 

 

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Case 20-30300-acs Doci_ Filed 01/28/20

Renee Warfield

Last Name

Case number (i known)

Stacy

First Name

Debtor 1
Middle Name

List All of Your NONPRIORITY Unsecured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3. Do any creditors have nonpriority unsecured claims against you?
C) No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes
4 List all of your nonprionity unsecured claims in the alphabetical order of the creditor who holds cach claim. Hf a creditor has more than one |
occngnprionty unsecured claim, list the creditor separately for each claim. For each claim listed, i what type of claim:lt is. Do not list claims already
included in Part 4. if more than one creditor holds a pare cat list the other creditors in Part 3. if you have more than three = rormeriediy ureecived
claims fill out the Continuation: Page of Part 2.
fs] Capital One Bk USA NA Last 4 digits of account number_6 5 7 6 200.00
Nonpriority Creditors Name S$ UI
Po Box 30281 When was the debt incurred? 04/07/2018
Number Street
Salt Lake City UT 84130
City State ZIP Code As of the date you file, the claim is: Check all that apply.
O Contingent
Who incurred the debt? Check one. QC) unliquidated
(A Debtor 4 only QO) disputed
O) Debtor 2 only
Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
©) At ieast one of the debtors and another O) Student ioans
OU Check if this claim is for a community debt Q Obligations arising out of a Separation agreement or divorce
that you did not report as priority claims
is the claim subject to offset? OQ) Debts to pension or profit-sharing plans, and other similar debts
J no 6 other. Specify Credit Card
pecify
QO) Yes
{'?_| Credit One Bank Last 4 digits of account number 6 5 7 6 s__——— 353.00
Nonpriority Creditor's Name When was the debt incurred? 10/24/201 8
Po Box 98872
Number Street
Las Vegas NC 89193 As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO Contingent
Who incurred the debt? Check one. O) unliquidated
i Debtor 1 only Q) Disputed
; C) Debtor 2 only
© debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Atseast one of the debtors and another O) Student loans
Q Obligations arising out of ti t or di
C) Check if this claim is fora community debt that you did not report as prionty claims semen or enone
Is the claim subject to offset? Q Debts to pension or profit-sharing plans, and other similar debts
Z no W other. specity_ Credit Card
Cl] Yes
4.3 ‘ - :
| Credit Collections Servic Last 4 digits of account number _6 5 7 6
Nonpriority Creditor’s Name s___1,191.00 :
Po Box 607 When was the debt incurred? 04/22/2014
Number Street
Norwood MA 2062
Sity Sue 2 206 As of the date you file, the claim is: Check all that apply.
Who incurred the debt? Check one. U1 Contingent
Uw Debtor 4 only QO Unliquidated
C) Disputed
{) Debtor 2 only ‘spa
U1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C} At least one of the debtors and another
O) Student loans
O) Check if this claim is for a community debt Q Obligations arising out of a separation agreement or divorce
Is the claim subject to offset? that you did not report as priority claims
a No QO} Debts to pension or profit-sharing plans, and other similar debts
O ves ( Other. Specity_ Progressive

 

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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of_
Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 42 of 73

Debtor 1

pan | Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

Renee
Last Name

Stacy

First Name Middle Name

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Warfield

 

 

 

Case number (i known).

 

 

 

 

 

 

 

 

 

 

4.4 igi 6 5 7 6
: : f
Credit Protection Assoc Last 4 digits of account number _O 9 _f 0 s__495.00
: Nonpriority Creditor's Name . 08/1 8/201 6
When was the debt incurred?
13355 Noel Rd Ste 2100 ———_———.
Number Street " we
As of the date you file, the claim is: Check ail that apply.
Dallas TX 75240 » pPy
City State ZIP Code (3 Contingent
O) unliquidatea
Who incurred the debt? Check one. Oo Disputed
Vi Debtor 1 only
CQ) Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only Student toans
Cd Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
sean: oo . you did not report as priority claims
d
C1 Check if this claim is for a community debt OQ) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? A other. Specify Lou Gas & Electric
wf No
C) Yes
45] Last 4 digits of account number 6 5 7 6 s__ 593.00
Enhance Recovery Co + Sse’
Nonpriority Creditors Name
When was the debt incurred? 08/21/2018
Po Box 57547 TT
Number Street
: As of the date you file, the claim is: Check all that apply.
Jacksonville FL 32241 youn an inat apply
City State ZIP Code CJ Contingent
: C) unliquidated
: Who incurred the debt? Check one. OQ Disputed
: MU debtor 1 only
C} Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only Q Student loans
C1 Atleast one of the debtors and another Q) Obligations arising out of a separation agreement or divorce that
CQ) Check if this claim is for a community debt you did not report a8 Priority claims a.
QO) Debts to pension or profit-sharing plans, and other similar debts
ts the claim subject to offset? Wi other. Specity AT T U Verse
df No
O) Yes
4.6 6576 $ 20,589.48
Exeter Finance Lic Last 4 digits of account number 6 5 7 6 :
Nonpriority Creditor's Name
When was the debt incurred? 03/29/2013
2101 W John Carpenter FWY ' ——
Number Street As of the date you file, the claim is: Check all that appl
: : u file, im is: .
Irving TX 75063 y eck ah nat apply
: City State ZIP Code O) Contingent

 

 

 

 

Who incurred the debt? Check one.

UV Debtor 1 only

C] Debtor 2 only

CQ) Debtor 1 and Debtor 2 only

CI At least one of the debtors and another

C1 Check if this claim is for a community debt

Is the claim subject to offset?

7) No
QO ves

Q) unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CQ) Debts to pension or profit-sharing plans, and other similar debts
uw Other. Specify_ Kia Store

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Debtor 1 Stacy Renee Warfield Case number (if known).

First Name Middle Narie Last Name

 

      

Your NONPRIORITY Unsecured Claims — Continuation Page

_ After listing any entries on this page, number them beginning with 4.4, followed by 4.5, andso forth.

 

 

 

 

 

 

 

 

47 iai 6 5 7 6
First Premier Bank Last 4 digits of accountnumber 9. OY ff OO (  g 927.00
Nonpriority Creditors Name 1 a) i 8 1201 9
. : When was the debt incurred?
3820 N Louise Ave ——_—_—
Number Street oe
. As of the date you file, the claim is: Check all that apply.
Siqux Falls SD 57107 y Pely
City Sate ZIP Code QO Contingent
CJ Untiquidated
Who incurred the debt? Check one. . OQ disputed
VW Debtor 1 only .
: C2 Debtor 2 only Type of NONPRIORITY unsecured claim:
UO) Debtor 1 and Debtor 2 only O Student loans
C1 Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
ean; . 7 you did not report as priority claims
debt
C Check if this claim is for a community CQ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Of other. Specify Credit Card
od No
QO Yes
48] ; : Last 4 digits of account number 6 5 7 6 3 8,763.00
Guardian Finance +S ote

 

Nonpriority Creditors Name <
When was the debt incurred? 08/04/2011

 

 

3806 Fishinger Blvd
Number Street
. As of the date you file, the claim is: Check all that apply.
Hillard OH 43026 y pPly
City 4 State ZIP Code CQ) Contingent
C2 unliquidated
Who incurred the debt? Check one. Q Disputed

UV Debtor 1 only
C) debtor 2 only Type of NONPRIORITY unsecured claim:
O) Debtor 1 and Debtor 2 only

(student toans
(C) At least one of the debtors and another

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CI] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? A other. Specify Auto

a No
0 Yes

QO Check if this claim is for a community debt

 

3 68.00

Gla Collections Last 4 digits of account number 6 5 7 6

Nonpriority Creditors Name

 

 

 

When was the debt incurred? 07/30/2014
Po Box 991199
Number Street As of the date you file, the claim is: Check all that appl
r , : apply.
Louisville KY 40269 ¥ rey
City State ZIP Code CY Contingent
OQ) unliquidated

Who incurred the debt? Check one.

| Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
Q] Debtor 1 and Debtor 2 only

(2 At least one of the debtors and another

OQ Disputed

(2 Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

OQ) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Wi other. Specity Access Behavioral Health Inc

wi No ,

U) Yes

() Check if this claim is for a community debt

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page. of_
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Renee Warfield

Middle Name Last Name

Stacy

First Name

Debtor 1

Case number (if known).

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5/1 igi 6 5 7 6
CommonWealth Of Kentucky Dept of Revenue Last 4 digits of account number D> _f_ _O_ ¢_ 6,483.26.
Nonpriority Creditors Name Wh the debt i d?

. en was the debt incurre
Station Number 68 Po Box 1074
Number Street “ ae
As of the date you file, the claim is: Check ail that apply.
FrankFort KY 40602 ¥ ply
City State ZIP Code O Contingent
(2 Untiquidatea
Who incurred the debt? Check one. 0 pisputea
Vi Debtor 1 only
CY Debtor 2 only Type of NONPRIORITY unsecured claim:
U2] Debtor 1 and Debtor 2 only © Student loans
C) At least one of the debtors and another (2 Obligations arising out of a separation agreement or divorce that
og a: oe : you did not report as priority claims
. bt :
U1 Check if this claim is for a community de Ci Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WM other. Specity_ Tax Liability .
wf No
Q) Yes
52| Last 4 digits of accountnumber 6 5 7 6 ¢___ 140.00
Enhanced Recovery Co L = <<
Nonpriority Creditor's Name
When was the debt incurred? 11/10/2018
8014 Bayberry Rd _
Number Street
. As of the date you file, the claim is: Check all that apply.
Jacksonville FL 32256 y pPy
City State Z'P Code ( Contingent
C) Unliquidated
Who incurred the debt? Check one. 2 bisputed
UW Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured ciaim:
O) Debtor 1 and Debtor 2 only Q Student loans
CY At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
U Check if this claim is for a community debt you did not report as prionty claims ,
, C2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WM Other. Specity_ Charter Communication
wa No
QC Yes

53| 6576 3 399.00
Education Cabinet Dept For WorkForce Investment Last 4 digits of account number _O_ 9 _f _O_

Nonpriority Creditors Name
soe . When was the debt incurred?
Division of Unemployment Ins 275 E Main St -2 ED .
Numbe' Street
FrankFo rt KY 40621 As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO Contingent
) Unliquidated
Who incurred the debt? Check one. 0 bisputed
U Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O Student loans
At least one of the debtors and another O Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims
U2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W other. specity_ Overpayment Balance
| No ,
QO) Yes

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Debtor 1 Stacy Renee Warfield

First Name Middle Name Last Name

Case number (if known),

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

5,4 . igi 6 5 7 6
54] Gla Collections Last 4 digits of accountnumber 0 DO f/f 0 $_1,244.00
Nonpriority Creditors Name Wh the debt i d?
en was ebt incurre
Po Box 991199
Number Street . se
woe As of the date you file, the claim is: Check all that apply.
Louisville KY 40269 y py
City State ZIP Code Q) Contingent
QQ) untiquidatea
Who incurred the debt? Check one. Q Disputed
Y Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
(C) Debtor 1 and Debtor 2 only QO Student loans
C1 Atleast one of the debtors and another LQ Obligations arising out of a separation agreement or divorce that
sean: oe . you did not report as priority claims
f debt :
UO) Check if this claim is for a community de OC} Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WM Other. Specify_ Medical
| No
C} Yes
39 Last 4 digits of accountnumber 6 5 7 6 $_ 3,413.00
Merchants Preferred LE +244 2 NO.
Nonpriority Creditor's Name
When was the debt incurred? 09/09/2018
5500 Interstate N Pk —_—_——
Number Street
As of the date you file, the claim is: Check all that apply.
Altanta GA 30328 ¥ pply
City ° State ZIP Code Q) Contingent
‘ unliquidated
Who incurred the debt? Check one. QQ Disputed
vf Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
Q Debtor 1 and Debtor 2 only 2 Student loans
C1 Atleast one of the debtors and another ( Obligations arising out of a separation agreement or divorce that
O Check if this claim is for a community debt you did not report as priority claims _
() Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? ff other. specity_Installment
| No
Q) yes
[56 495 6 5 1,039.49
Progressive Leasing Last 4 digits of account number 4 9 9— 2
Nonpriority Creditors Name
When was the debt incurred?
256 Data Dr
Number Street As of the date you file, the claim is: Check all that appl
u file, claim is: .
Draper UT 84020 y oe aee
Ciy State ZIP Code Q) Contingent
OQ) unliquidated
Who incurred the debt? Check one. Q Disputed
U Debtor 1 only
C} Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only (2 Student toans
At least one of the debtors and another Q) Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims
CD pebts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Wi other. specity Leasing
ad No
OQ} Yes

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Debtor 1 Stacy Renee Warfield

First Name Middle Name Last Name

Case number (if known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. igi 6 5 7 6
Rumpke Consolidated Co Last 4 digits of accountnumber © Yo / OL s__ 164.52
Nonpriority Creditors Name Wh the debt i 4?
en was the debt incurre
10795 Hughes Rd
Number Street . se
woe : As of the date you file, the claim is: Check all that apply.
Cincinnati OH 45251 ¥
City State ZIP Code QO Contingent
. Q) unliquidated
Who incurred the debt? Check one. O disputed
Yi Debtor 1 only
C} Debtor 2 only Type of NONPRIORITY unsecured claim:
LU) Debtor 1 and Debtor 2 only QO] Student toans
C) Atleast one of the debtors and another (2 Obligations arising out of a separation agreement or divorce that
o£ ht we . you did not report as priority claims
. debt
C1 Check if this claim is for a community de C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? | Other. Specify
| No
CI Yes
58 _ io 76
IRS Office Louisville Last 4 digits of account number 6 5 7 6. $ 5,138.00
Nonpriority Creditors Name . 2
. . When was the debt incurred
600 Dr Martin Luther King Jr. PL
Number Street
wos As of the date you file, the claim is: Check all that apply.
Louisville KY 40202 y pPly
City State ZIP Code QO Contingent
QQ) unliquidated
Who incurred the debt? Check one. Q bisputea
1 Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only Oo Student foans
At least one of the debtors and another u Obligations arising out of a separation agreement or divorce that
OU Check if this claim is for a community debt you did not report as priority claims _
QC) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W other. Specify State Tax Lien
| No
QO) Yes
59} 3 0.00
Last 4 digits of account number
Nonpriority Creditors Name
When was the debt incurred?
Number Street 7 wes
As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO) Contingent
OQ unliquidated
Who incurred the debt? Check one. OC pisputed
C) Debtor 1 only
C Debtor 2 oniy Type of NONPRIORITY unsecured claim:
0 Debtor 1 and Debtor 2 only UO student loans .
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
(3 Check if this claim is for a community debt you did not report as priority claims
C] Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? C1 other. Specify
QO) No
QO Yes

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

page__ of _
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 47 of 73

Debtor 1 Stacy Renee Warfield Case number (known)

Fast Name Middie Name Last Name

 

ee Others to Be Notified About a Debt That You Already Listed

_ 6. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

: example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

: 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
i additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line sof, (Check one): Q) Part 1: Creditors with Priority Unsecured Claims
Number Street OQ) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of accountnumber
City . State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (2 Part 4: Creditors with Priority Unsecured Claims
Number Street OQ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_—
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line _- of (Check one): (2 Part 1: Creditors with Priority Unsecured Claims
Number Street . () Part 2: Creditors with Nonpriority Unsecured
Claims
: Last 4 digits of accountnumber
City State ZIP Code vot
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): ) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
City State Zip Code
On which entry in Part t or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street C] Part 2: Creditors with Nonpriority Unsecured
Claims
: Last 4 digits of account number
City State ZIP Code
ane On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): 0) Part 1: Creditors with Priority Unsecured Claims
Number Street
CQ) Part 2: Creditors with Nonpriority Unsecured
Claims
Gly State FIP Code Last 4 digits of account number_

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__of_
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 48 of 73

Debtor 1 , Stacy Renee Warfield ees ' Case number (if known),

First Name Middle Name Last Name

 

 

'Fige-c Add the Amounts for Each Type of Unsecured Claim

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

. Domestic support obligations 6a. $ 0.00
. Taxes and certain other debts you owe the
government 6b. $ 0.00
-_ 6c. Claims for death or personal injury while you were
intoxicated 6c. $ 0.00
z a
: . Other. Add all other priority unsecured claims.
: Write that amount here. 6d. 4 $ 0.00
. Total. Add lines 6a through 6d. 6e.
$ 0.00

 

 

 

 

 

 

 

 

 

6f. Student loans ee BR § 0.00
6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims ee
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6. +5 51,162.27
| 6j. Total. Add lines 6f through 6i. 6j.
: $ 51,162.27

 

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__of_
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 49 of 73

Fillin this information to identify your case:

Debtor ‘* Stacy Renee Warfield

First Name Middle Name Last Name

Debtor 2 N/A

(Spouse {f filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: Western District of Kentucky

Case number ‘ wo
if known) U) Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/45

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
(4 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
() Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract orloase __ State what the contract or lease Is for

24

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code
2.3.

 

Name

 

Number Street

 

City State ZIP Code
24

 

Name

 

Number Street

 

City State ZIP Code
2.5.

Name

 

 

Number Street

 

 

City . State _ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of____
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 50 of 73

Debtor 1 Stacy

First Name

Renee Warfield

Last Name

a Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease m

Sv")

 

Name

 

Number

Street

 

City

State

ZIP Code

Case number (ifknown)

: - What the contract or lease is for.

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

 

 

City

Official Form 106G

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

page of__
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 51 of 73

Fill in this information to identify your case:

Debtor 1 Stacy Renee Warfield

First Name Middle Name Last Name

Debtor 2 N/A

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Western District of Kentucky

 

 

 

Case number
{it known) C) Check if this is an
amended filing
Official Form 106H
Schedule H: Your Codebtors 12/15

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people

are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and

case number (if known). Answer every question.

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

u No
UC) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

wf No. Go to line 3.
C) Yes. Did your spouse, former spouse, or legal equivaient live with you at the time?

U2 No

L Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
QO Schedule D, line
Name
QO) Schedule E/F, tine
Number Street QO) Schedule G, line
City State _ ZIP Code
3.2 |
Q) Schedule D, line
Name —_—_.
OQ) Schedule E/F, line
Number Street O) Schedule G, line
City State ZIP Code
3.3
nate () Schedule D, line
QO) Schedule E/F, line
Number Street (} Schedule G, line
City State ZIP Code

 

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1of_
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 52 of 73

Debtor 1 Stacy Renee Warfield

First Name Middle Name Last Name

|| Additional Page to List More Codebtors

Column 4: Your codebtor :

Case number (if known)

Column 2: The creditor to whom you owe the debt

  

5 Check all schedules that apply:
3._

() Schedule D, line

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
OQ} Schedule E/F, line
Number Street QO) Schedule G, line
City State ZIP Code
3.
() Schedule D, line
Name
Q) Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code
Z
Q) Schedule D, line
Name
(2 Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code
3
() Schedule D, line
Name
O) Schedule E/F, line
Number Street Q) Schedule G, line
City State ZIP Code
B._
Q) Schedule D, fine
Name
(2 Schedule E/F, line
Number Street Q) Schedule G, line
City State ZIP Code
P| C) Schedule D, line
Name
Q) Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code
|
Q) Schedule D, line
Name
Q) Schedule E/F, line
Number Street Q Schedule G, fine
City State ZIP Code
5 Q) Schedule D, jine
ame
Q) Schedule E/F, line
Number Street U) Schedule G, line
City State ZIP Code

 

 

 

Official Form 106H Schedule H: Your Codebtors page. of_
Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 53 of 73

Fillin this information to identify your case:

Debtor 1 Stacy Renee Warfield

First Name Middle Name Last Name

Debtor 2 N/A

(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: Western District of Kentucky

Case number Check if this is:
(If known)
(3 An amended filing

OA supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 MM DD? YYYY
Schedule I: Your Income 42145

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. {f you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

 

CFs ae Describe Employment

1. Fill in your employment

 

 

 

 

 

 

 

 

information. o proBebtor + _ Debtor 2 or non-filing spouse
If you have more than one job,
attach a separate page with
information about additional Employment status vi Employed O) Employed
employers. C} Not employed CJ Not employed
Include part-time, seasonal, or
self-employed work.
Occupation Transporter
Occupation may include student
or homemaker, if it applies.
Employer's name U Of L
Employer's address 1850 Bluegrass Pkwy
Number Street Number = Street
Louisville KY 40258
City State ZIP Code City State ZIP Code
How long employed thefe? 1 Yr. ” 1 Yr.

 

Give Details About Monthly income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or

 

 

2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 2,970.42 $ 0.00
_ 3. Estimate and list monthly overtime pay. 3. +3 0.00 +3 0.00
4. Calculate gross income. Add line 2 + line 3. 4. | $2,970.42 $ 0.00

 

 

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 54 of 73

Debtor 1 Stacy Renee Warfield Case number (if known),

 

 

 

First Name Middie Name Last Name
“ForDebtor1 _—_—For Debtor 2 or
Copy Hime 4 Pere. csscecccccccesssseecscesssseneseesesnneeseeennneneececesenmneseetsnnmutseseessee >4. $2,970.42 $ 0.00

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social! Security deductions 5a. § 739.11 $ 0.00
5b. Mandatory contributions for retirement plans 5b. $ 196.22 $ 9.00
5c. Voluntary contributions for retirement plans 5c. $ 0.00 $ 0.00
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
Se. Insurance 5e. $ 0.00 $ 0.00
5f. Domestic support obligations 5f. $ 0.00 $ 0.00
5g. Union dues : 5g. $ 0.00 $ 0.00
5h. Other deductions. Specify: 5h. +3 0.00 +3 0.00
6. Add the payroll deductions. Add lines 5a+ 5b+5c+5d+5e+5f+5g+5h. 6. § 935.33 $ 0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $2,035.09 $ 0.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.00 $ 0.00
monthly net income. 8a. - *
8b. Interest and dividends 8b. § 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8c. $ 0.00 $ 0.00
8d. Unemployment compensation 8d.  $ 0.00 $ 0.00
8e. Social Security , Be. §. 0.00 $ 0.00
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: stg 0.00 $ 0.00
8g. Pension or retirement income . .. 8g. $ 0.00 $ 0.00
8h. Other monthly income. Specify: ‘ ; 8h. +$ 0.00 +$ 0.00
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8¢ +.8f +8g + 8h. 9 | $ 0.00 $ 0.00
10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. s__2,035.09 + § 0.00 I s 2,035.09

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives. re cy oes

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

Specify: 11.6% $ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. s__ 2,035.09.
Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this form?

W@ No.
C) Yes. Explain:

 

 

 

 

 

Official Form 106! Scheduie i: Your Income page 2

 
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 55 of 73

Fill in this information to identify your case:

Stac Renee Warfield
Debtor 1 First acy Middie Name Last Name Check if this is:

Debtor 2 N/A

(Spouse, if filing) First Name Middle Name Last Name Q) An amended filing

LJ A supplement showing postpetition chapter 13

United States Bankruptcy Court for the: Western District of Kentucky expenses as of the following date:

Case number

(If known) MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 42115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

Part 1: Describe Your Household

 

1. Is this a joint case?

wi No. Go to line 2.
C) Yes. Does Debtor 2 live in a separate household?

Q) No o Ss
() Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

2. Do you have dependents? (2 No .
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and w Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... oO
: Ni
Do not state the dependents’ . tos, Son 18 rr °
names. Yes
UL No
QO) ves
L) No
O) Yes
UC No
OQ) Yes
, U2 No
t OQ ves
3. Do your expenses include w No

expenses of people other than QO
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule !: Your income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and $ " 800.00
any rent for the ground or lot. 4.
If not included in line 4:
4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. §$ 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 56 of 73

 

 

 

 

 

 

 

 

Debtor 1 Stacy Renee Warfield Case number (if known)
First Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services
6d. Other. Specify: cell phone 2 Lines
7. Food and housekeeping supplies
8. Childcare and children’s education costs
9. Clothing, laundry, and dry cleaning
10. Personal care products and services
11. Medical and dental expenses
12. Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.
13. Entertainment, clubs, recreation, newspapers, magazines, and books
14. Charitable contributions and religious donations
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
15b. Health insurance
15c. Vehicle insurance
15d. Other insurance. Specify:
46. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:
17. Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule |, Your Income (Official Form 106i).
19. Other payments you make to support others who do not live with you.
Specify:
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property
20b. Real estate taxes
20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses
20e. Homeowner's association or condominium dues
Official Form 106J . Schedule J: Your Expenses

6a.

6b.

6c.

6d.

10.

11.

12.

13.

14.

15a.

1b.

15¢.

15d.

16.

17a.

17b.

17c.

17d.

19.

20a.

20b.

20c.

20d.

20e.

Your expenses

rH F#Ff# Ff Ff Ff FF FF HF

fF Ff H

PFA F# HF

PF FF HF

 

0.00

234.40
0.00

69.00
230.00

200.00
300.00
150.00
160.00

0.00

120.00

50.00
0.00

33.00
0.00

0.00
0.00

0.00

0.00
0.00
0.00
0.00

0.00

0.00

0.00

0.00

0.00

0.00
0.00

page 2
 

Case 20-30300-acs Doci_ Filed 01/28/20

Debtor 1 Stacy Renee Warfield

First Name Middie Name Last Name

Entered 01/28/20 16:10:14

Case number (known)

 

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21. Other. Specify: 21. +3 0.00
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. | ¢ 2,346.40
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $ 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ 2,346.40
23. Calculate your monthly net income.
, $ 2,035.09
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a.
23b. Copy your monthly expenses from line 22c above. 23b. ~¢ 2,346.40
23c. Subtract your monthly expenses from your monthly income. 311.31
The result is your monthly net income. 23c. $ -
|
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
| No. |
CL) Yes. Expiain here:
Official Form 106J Schedule J: Your Expenses page 3
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 58 of 73

Fill in this information to identify your case:

Debtor 1 Stacy Renee Warfield

First Name Middle Name Last Name

Debtor 2 N/A

(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Western District of Kentucky

Case number () Check if this is an
{if known) amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12115

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Value of what you own

1. Schedule A/B: Property (Official Form 106A/B) 0.00
1a. Copy line 55, Total real estate, from Schedule A/B oo.......... ccc c cee ccceeseseeeseseceteneeseaeseseecseeaeecavacseseesstecanseasensesesneanssaeaes $ .

1b. Copy line 62, Total personal property, from Schedule A/B....c.ccccccsssscscesssssssesssssssssssssssssssssescesseasssssvansessssesssssnssssssseveceeces $ 5,385.00

1c. Copy line 63, Total of all property on Schedule AB ou........ceecccececcccceseseceseesssesaccsssessccssucavececessenssvassueaeverssasetsaasaucensaaseses $ 5,385.00

 

 

 

Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............

 

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

 

 

 

 

 

3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F ...........ccccceseeesceetstsseseees $ 9.00.
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F «0... cececcesesessesteees + § 51,162.27
Your total liabilities $ 91,162.27
Summarize Your income and Expenses

4. Schedule |: Your Income (Official Form 1061) 2 035.09
Copy your combined monthly income from line 12 Of Schedule foo... c.ccccccccccseccecsssscesecsscssceccscscsessvacecacesacessaanavapseasseeereces $___<n

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule J o........ccccccccceccccccescsesscssessecsesesssscssevscecsaceeveceesseaseasactassesacsacecaeaesees $ ____ 2,346.40

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 59 of 73

Debtor 1 Stacy Renee Warfield Case number (i known)

 

First Name Middle Name Last Name

 

 

Eo Answer These Questions for Administrative and Statistical Records

| 6. Are you filing for bankruptcy under Chapters 7, 14, or 13?

wi Yes

() No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

 

| 7. What kind of debt do you have?

Wi Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

CD Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

 

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

 

$___ 2,970.42

 

 

 

 

9. Copy the following special! categories of claims from Part 4, line 6 of Schedule E/F:

 

 

9a. Domestic suppor obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 6,483.26
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) si.
9d. Student loans. (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.) ae
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy fine 6h.) +§ 0.00
9g. Total. Add lines 9a through 9f. $ 6,483.26

 

 

 

 

Officiat Form 106Sum Summary of Your Assets ay Liabilities and Certain Statistical Information

 

 

page 2 of 2
Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 60 of 73

Fill in this information to identify your case:

Debtor 1 Stacy * Renee Warfield

First Name Middle Name Last Name

Debtor 2 N/A

(Spouse, ff filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Western District of Kentucky

Case number
(If known)

 

CJ Check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/15

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

wf No - . con cee

a Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and

 

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

Sle fbol fe

 

 

 

Signature of Debtbr4 -, v7, Signature. of Debtor 2 ..
pate O Ol AX do of Date
MM/ DD / YYYY MM/ DD / YYYY

 

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
 

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EMC Comet Lb Be Loc Check one box only as directed in this form and in

Form 122A-1Supp:

Debtor 1 Stacy Renee Warfield

First Name Middle Name Last Name

N/A LJ 1. There is no presumption of abuse.
Debtor 2

(2 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A-2).

{Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Western District of Kentucky

(LJ 3. The Means Test does not apply now because of
qualified military service but it could apply later.

Case number
(If known)

 

 

 

 

 

CD Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 4122A-1Supp) with this form.

 

Calculate Your Current Monthly Income

 

1. What is your marital and filing status? Check one only.
a Not married. Fill out Column A, lines 2-11.
C) Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

(J Married and your spouse is NOT filing with you. You and your spouse are:
Q Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

© Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penaity of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

il in the average monthly income that you received from all sources, derived qua ae 6 Mm oe

    
 
 

<span apne pimonnsannsronnreescrceranc serena ino ECA NN

 

income from that sy pauper | in ane column only. youn have nothing to report for any line, write ” in the space. -

     

 
 

eos Debtor Debtor2or_
sonny om “non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and.commissions
(before all payroll deductions). a $_ 2,970.42 $ 0.00

3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. g___9.00 g___0.00

 

4. All amounts from any source which are > regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not 0.00 0.00
filled in. Do not include payments you listed on line 3: $ : $__UAN

5. Net income from operating a business, profession, Debtor 4 a Debtor?

 

or farm

Gross receipts (before all deductions) $_v' 0.00 g__0.01 “0. 00

Ordinary and necessary operating expenses — $_0.0 0. 00- $__0.00

Net monthly income from a business, profession, orfarmm ¢ 0.00 g 0.00 hoes, $ 0.00 $ 0.00
6. Net income from rental and other real property De b c af Dion 2

Gross receipts (before all deductions) HF 60 Out5 0

Ordinary and necessary operating expenses -$ 000-3 0.00

Net monthly income from rental or other real property 5 0.00 g:_0.01 0.00. roel, $ 0.00 $ 0.00
7. Interest, dividends, and royalties ne $ 0.00 $ 0.00

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1
 

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Debtor 1 Stacy Renee Warfield , Case number (i known)
Firet Name Middle Name Last Name .
Column A
Debtor 1
: non-filing spouse
8. Unemployment compensation $ 0.00 $ 0.00

 

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here:

FOP YOU ec cece een cee cece enn ee teeaneteeeeeceneeeateneneenees

  

FOF YOUF SPOUSE... eesecceeceeeeeenteecenessnneceeeeeeneeennescnsetenes $

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 0.00 $ 0.00

10. Income from all other sources not listed above. Specify the source and amount.
Do not inciude any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. if necessary, list other sources on a separate page and put the total below.

0.00 § 0.00
s____ 0.00 gs ____0.00

 

 

 

Total amounts from separate pages, if any. + 0.00 +¢ 0.00
11. Calculate your total current monthly income. Add lines 2 through 10 for each + -
column. Then add the total for Column A to the total for Column B. $2,970.42 $ 0.00 |~|$ 2,970.42

 

 

 

 

 

 

 

 

Total current
monthly income

izliewse Determine Whether the Means Test Applies to You

 

12. Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from JING 14. occ ceceecssssssssesscessessseesssssceesesseseseenussesensaseeees Copy line 11 here> $_ 2,970.42 |

Multiply by 12 (the number of months ina year), x 12

‘

12b. The result is your annual income for this part of the form. + 12b.

13. Calculate the median family income that applies to you. Follow these steps:

 

 

 

 

 

 

 

 

Fill in the state in which you live. . Kentucky
Fill in the number of people in your household. no ED:
Fill in the median family income for your state and size Of NOUSCMOIG. neces csscccccecssesssecsuesseessesssesssesessessecsesssesasessiesseeeseees 13. $. 47,788.00

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

14. How do the lines compare?

14a. W@ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

14b. 0) Line 12b is more than line 13. On the top of page 4, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

era sin Below

 

By ek here, | declare ynder penalty of pes it. the information on this statement and in any attachments is true and correct.

  

 

 

x NA
0E x4 Dgttol wi Signature of Debtor 2
Date 0 a 4 oa mo noe, Date
MM/ DD /YYYY MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 1224-2.

 

If you checked line 14b, fill out Form 122A—2 and file it with this form.

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2
Case 20-30300-acs Doci_ Filed 01/28/20

Fillin thts information to identify your case:

Debtor 1 Stacy Renee Warfield _

First Name Middle Name Last Name

Debtor 2 N/A

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(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Western District of Kentucky

Case number
(if known)

 

 

 

Official Form 122A—2
Chapter 7 Means Test Calculation

 

lines 40 oF 42:

 

According to the calculations required by
this Statement:

{A 1. There is no presumption of abuse.

C) 2. There is a presumption of abuse.

 

C} Check if this is an amended filing

04/16

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional

pages, write your name and case number (if known).

 

Flaate Determine Your Adjusted income

 

. Copy your total current monthly income. 2000... Copy line 11 from Official Form 122A-1 here™»........... 3 2,970.42

. Did you fill out Column 8 in Part 1 of Form 122A-1?
Wi No. Fill in $0 for the total on line 3.
LI} Yes. Is your spouse filing with you?
C1 No. Go to line 3.
(J Yes. Fill in $0 for the total on line 3.

. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
household expenses of you or your dependents. Follow these steps:

On line 11, Column B of Form 122A-—1, was any amount of the income you reported for your spouse NOT
regularly used for the household expenses of you or your dependents?

Wi No. Fillin 0 for the total on line 3.
C) Yes. Fill in the information below:

    

 

 

 

 

Stats: orwhichtheincomewasused = Fit inthe amount you
For ‘Income is used to pay your spouse’ tx de oro suppor. aare subtracting from
people othier than you or your dependents ees your spouse's income

$ 0.00

$ 0.00

+§ 0.00

TRAD, oon seccscscscssssssssstossssesssecesscsssssssusnsssseeseeesesstssnsnnicnstsesceeeessesten 0.00

$____<-<— Copy total here ............... > -$ 0.00

4. Adjust your current monthly income. Subtract the total on line 3 from line 1. $ 2,970.42)

 

 

 

 

Official Form 122A~2 Chapter 7 Means Test Calculation page 1

 
 

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Debtor 1 Stacy Renee Warfield Case number (i known)
First Name Middle Name Last Name
Part 2: Calculate Your Deductions from Your Income

 

The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
this form. This information may also be available at the bankruptcy clerk’s office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-—1.

if your expenses differ from month to month, enter the average expense.

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A—1 is filled in.

5. The number of people used in determining your deductions from income

 

Fill in the number of people who could be claimed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you support. This number may be different from
the number of people in your household. 0

 

 

 

 

use the IRS National Standards to answer the questions inlines 6-7.

6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill $ 4288.00

in the dollar amount for food, clothing, and other items...

7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories—people who are
under 65 and people who are 65 or older—because older people have a higher IRS allowance for health care costs. If your
actual expenses are higher than this IRS amount, you may deduct the additional amount on fine 22.

 

7a. Out-of-pocket health care allowance per person

 

 

 

 

$ 49.00
7b. Number of people who are under 65 2
x
7c. Subtotal. Multiply line 7a by line 7b. $ 98.00 copyheres>  § 98.00
7d. Out-of-pocket health care all
p ea! lowance per person 5 417.00
7e. Number of people who are 65 or older x 0
7t. Subtotal. Multiply line 7d by line 7e. $ 0.00 copy here> 4 5 0.00
7g. Total. Add lines 76 Ad 7f.......cccccscccsssssssseesscssssscessessecseessssseeesresssesesenssteeeeeneeneeneees $ 98.00 Copy total here=> § 98.00

 

 

 

 

 

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 2
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Debtor 1 Stacy Renee Warfield Case number (known)

First Name Middle Name Last Name

 

 

 

 

Local Standards You must use the IRS Local Standards to answer the questions in lines 8-15.

 

Based on information from the iRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:

@ Housing and utilities — insurance and operating expenses
@ Housing and utilities - Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

To find the chart, go online using the link specified in the separate instructions for this form.
This chart may also be available at the bankruptcy clerk's office.

8. Housing and utilities - insurance and operating expenses: Using the number of people you entered in line 5, fill in the
dollar amount listed for your county for insurance and operating ExpENSeS. o.oo. .ceecceccceccecsesessessevessarsacauavesestsaestsesees sg 1,478.00

9. Housing and utilities - Mortgage or rent expenses:

9a. Using the number of people you entered in line 5, fill in the dollar amount listed 344.00
for your county for mortgage or rent EXPENSES... ce cccseeceressssesseecsesscseeececsessseteeseeneataes sve

9b. Total average monthly payment for all mortgages and other debts secured by your home.

To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file for
bankruptcy. Then divide by 60.

 

 

 

 

 

 

 

 

 

 

 

 

 

ee Average monthly
$ 0.00
$ 0.00
+3 0.00
Repeat this
Total average monthly payment $ 0.00 | PY -$ 0.00 amount on
here> line 33a.
9c. Net mortgage or rent expense.
Subtract line 9b (total average monthly payment) from line 9a (mortgage or $ 344.00; Sry g¢ 344.00
rent expense). If this amount is less than $0, enter $0.00... ccc ccesssessesseesessesssessessersenses here
10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects $ 0.00
the caiculation of your monthly expenses, fill in any additional amount you claim.
Explain
why:

 

11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

i 0. Go to line 14.
L) 4. Goto line 12.
{2 20rmore. Go to line 12.

12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area. $ 0.00

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 3
Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 66 of 73

Debtor 1 Stacy Renee Warfield Case number (if known)

First Name Middle Name Last Name

 

 

13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
In addition, you may not claim the expense for more than two vehicles.

 

Vehicle 1. Describe Vehicle 1:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13a. Ownership or leasing costs using IRS Local Standard. ......0........ccesccccsecseeeneceeneeeseeeeees g____—-0.00
13b. Average monthly payment for all debts secured by Vehicle 1.
Do not include costs for leased vehicles.
To calculate the average monthly payment here and on jine 13e, add all
amounts that are contractually due to each secured creditor in the 60 months
after you filed for bankruptcy. Then divide by 60.
| Average monthly
payment
$ 0.00
+ 0.00
Repeat this
Total average monthly payment $ 0.00 Copy — $ 0.00 = amounton
here> —__— tine 33b.
, Cc
13c. Net Vehicle 1 ownership or lease expense vont
Subtract line 13b from tine 13a. If this amount is less than $0, enter $0. 0.0... g____—_—~0.00 expense 0.00
here... > $C
Vehicle 2 Describe Vehicle 2:
13d. Ownership or leasing costs using IRS Local Standard. ...0...0..0...cccccccecceceeesecteeteeeees $ 0.00
13e. Average monthly payment for all debts secured by Vehicle 2.
Do not include costs for leased vehicles.
+ ¢ 0.00
Repeat this
Total average monthly payment $ 0.00 Copy, $ 0.00 = amount on
a here> = fi
ine 33c.
. . Copy net
13f. Net Vehicle 2 ownership or lease expense Vehicle 2
Subtract line 13e from 13d. If this amount is Jess than $0, enter $0....000000000 occas g____—9.00 expense
here... > $__—0 -00
14, Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
Public Transportation expense allowance regardless of whether you use public transportation. $ 189.00

15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may aiso
deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
more than the IRS Local Standard for Public Transportation. $ 0.00

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 4
 

 

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Debtor 1 Stacy Renee Warfield Case number (i known)

First Name Middle Name Last Name

 

16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your $ 0.00
pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and TO
subtract that number from the total monthly amount that is withheld to pay for taxes.

Do not include real estate, sales, or use taxes.

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,

union dues, and uniform costs.
Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

$ 0.00

18. Life insurance: The total monthly premiums that you pay for your own term life insurance. if two married people are filing
together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term. $ 0.00

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
agency, such as spousal or child support payments.

0.00
Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35. $_<=
20. Education: The total monthly amount that you pay for education that is either required:
lM as a condition for your job, or
@ for your physically or mentally challenged dependent child if no public education is available for similar services. $_0.00
21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
Do not include payments for any elementary or secondary school education. : ¢___0.00

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
health savings account. Include only the amount that is more than the total entered in line 7.
Payments for health insurance or health savings accounts should be listed only in line 25. $___ 0.00

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it + $ 0.00
is not reimbursed by your employer. : —__

Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

 

24. Add all of the expenses allowed under the IRS expense allowances. $ 3,397.00
Add lines 6 through 23. ne

 

 

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 5
 

 

Case 20-30300-acs Doci1 Filed 01/28/20 Entered 01/28/20 16:10:14 Page 68 of 73

Debtor 1 Stacy Renee Warfield Case number (if known)

First Name Middle Name Last Name

  
 
  
 

    
 

ase ate additional deductions allowed by the Means Test.
- Do notinclude any expense allowances listed in lines 6-2.

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your

 

 

 

 

dependents.

Health insurance $ 0.00

Disability insurance $ 0.00

Health savings account + $ 0.00

Total g_____—-0.00 .00 Copy total here D ...........ceeceeeeeeceeeeeeeeees $. 0.00
Do you actually spend this total amount?

Mf No. How much do you actually spend? g 2,346.40

CI Yes

26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will ; 0.00
continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of $i‘ fM
your household or member of your immediate family who is unable to pay for such expenses. These expenses may
include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety 0.00
of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply. $e

By law, the court must keep the nature of these expenses confidential.

28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.

If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
8, then fill in the excess amount of home energy costs. $ 0.00

You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
claimed is reasonable and necessary.

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $160.42*
per child) that you pay for your dependent children who are younger than 18 years old to attend:a private or public
elementary or secondary school. $ 0.00

You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in lines 6-23. :

* Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are $ 0.00
higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than
5% of the food and clothing allowances in the IRS National Standards.

To find a chart showing the maximum additional! allowance, go online using the link specified in the separate instructions for
this form. This chart may also be available at the bankruptcy clerk’s office.

You must show that the additional amount claimed is reasonable and necessary.

31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial + $ 0.00
instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).

 

32. Add all of the additional expense deductions. $ 0.00
Add lines 25 through 31.

 

 

 

 

Official Form 122A-2 Chapter 7-Means Test Calculation page 6

 
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Debtor 1 Stacy Renee Warfield Case number (if known),

First Name Middle Name Last Name

 

 

 

33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle

loans, and other secured debt, fill in lines 33a through 33e.

To calculate the total average monthly payment, add all amounts that are contractually due to each secured

creditor in the 60 months after you file for bankruptcy. Then divide by 60.

Mortgages on your home:

 

   

 

 

 

0.00

 

38a. Copy Fine 9b Mere a... cseeeeseceeeessesseesteessssssseesensunsassneseeecsscannnneeetevinesssseseeetimnnansveereeneed »> $
Loans on your first two vehicles:
33b. Copy lime 136 Mere. ne seeseessescssssseensssesnenesseeeenssseeenassneereununtectngrssertemuasetttanveeeeees > $ 0.00
33c. Copy fine 13@ NOPE. nn eeeseessscssssesenssesseesnssceeemessseeninansenetenananecrunnaretirinaeesetisueneeet > $ 0.00
33d. List other secured debts:
= peut taxes
or inaurance?
O) No $ 0.00
Q) Yes
O) No $ 0.00
L) Yes
C) No
+ 0.00
) Yes 8
33e. Total average monthly payment. Add lines 33a through 33d. .....-.c:ccsssessssesseenseeunenen $ 0.00

 

 

 

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
or other property necessary for your support or the support of your dependents?

Wi No. Goto line 35.

Cl Yes. State any amount that you must pay to a creditor, in addition to the payments
listed in line 33, to keep possession of your property (called the cure amount).
. .Next, divide by 60 and fill in the information below.

 

$ +60 = $

 

 

0.00

 

Copy total
here>

 

 

 

Copy total
here>

 

 

$ +60 = $ 0.00
$ +60= +$ 0.00
Total $ 0.00
35. Do you owe any priority claims such as a priority tax, child support, or alimony —
that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
wf No. Go to line 36.
C) Yes. Fill in the total amount of all of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in line 19.
Total amount of all past-due priority ClaiIMS «00.0.0... eet cee eet eeeeeeeteeeeeteeneeeeeneenenes $ 0.00

+60 =

 

0.00

0.00

0.00

 

Official Form 122A-2 Chapter 7 Means Test Calculation

 
 

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Debtor 1 Stacy Renee Warfield Case number (ifknown)

First Name Middle Name Last Name

 

36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
For more information, go online using the link for Bankruptcy Basics specified in the separate
instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.

Wf No. Goto line 37.
C) Yes. Fill in the following information.

Projected monthly pian payment if you were filing under Chapter 13 $

Current multiplier for your district as stated on the list issued by the

Administrative Office of the United States Courts (for districts in Alabama and

North Carolina) or by the Executive Office for United States Trustees (for alt

other districts). x

To find a list of district multipliers that includes your district, go online using the
link specified in the-separate instructions for this form. This list may also be
available at the bankruptcy clerk's office.

 

{
Average monthly administrative expense if you were filing under Chapter 13 $ 0.00 re $ 0.00

 

 

 

 

37. Add all of the deductions for debt payment. $ 0.00
Add lines 33@ through 36. .........ccccccseseeecce cesses ece cesses teneesesasasevesaseesssensnesasessassseaneeseseseeedasassaasesaeecseseseneseessesecavacessesecnesieaeiaareeaeas

 

 

 

    

38. Add all of the allowed deductions.

 

Copy line 24, All of the expenses allowed under IRS $ 3,397.00
EXPENSE AHOWANCES occ cece cece eeee cers eseseeceneseneenenees ncn ee
Copy line 32, All of the additional expense deductions........... $ 0.00
Copy line 37, All of the deductions for debt paymert............. +3 0.00
Total deductions $ 3,397.00 Copy total here «00... ee > $ 3,397.0

 

 

 

Fi! Determine Whether There Is a Presumption of Abuse

 

39. Calculate monthly disposable income for 60 months

 

 

 

 

 

 

39a. Copy line 4, adjusted current monthly income ..... $. 2,970.42
39b. Copy line 38, Total deductions.......... mg 3,397.00
39c. Monthly disposable income. 11 U.S.C. § 707(b)(2). 5 -426.58 Copy $ -426.58
Subtract line 39b from line 39a. — here> $$
For the next GO Months (5 OAPs)... ccccscccssessscesseessessseesessvessarcusrecreceneessssaressvesereeseseatesneenseeseseaes x 60
39d. Total. Multiply lime 396 by 60.........ccccccsccssssccssssscssssssesescrecseusesestassesereesectcesssereeseeee “aasesiuenestenst -25,594.80 | Copy
Y Y sae here>) — 5 -25,594|80

 

 

 

 

 

40. Find out whether there is a presumption of abuse. Check the box that applies:

L} The line 39d is less than $7,700". On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go
to Part 5.

w The line 39d is more than $12,850*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
may fill out Part 4 if you claim special circumstances. Then go to Part 5.

L) The line 39d is at least $7,700", but not more than $12,850". Go to line 41.

* Subject to adjustment on 4/01/19, and every 3 years after that for cases filed on or after the date of adjustment.

 

 

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Debtor 1 Stacy Renee Warfield Case number (i known),

First Name Middle Name Last Name

 

 

 

41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
Summary of Your Assets and Liabilities and Certain Statistical information Schedules

 

(Official Form 106Sum), you may refer to line 3b on that FOP... cece ccc cce ees ceteetescsseeteseeeenees $ 51,162.27
x .25
41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(1). 12.790.56 {COPY $ 12,790.56
Multiply line 414 by 0.25. .ccccsccssssssssesssuntciennnssienananuuanensnaannanaensunnannaeee s here> a

 

 

 

 

 

 

42. Determine whether the income you have left over after subtracting all allowed deductions
is enough to pay 25% of your unsecured, nonpriority debt.

Check the box that applies:

CL) Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse. .
Go to Part 5.

Wd Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

Give Details About Special Circumstances

43.Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

ff No. Go to Part 5.

CI) Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
for each item. You may include expenses you listed in line 25.

You must give a detailed explanation of the special circumstances that make the expenses or income
adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
expenses or income adjustments.

 

 

 

 

 

5 0.00

§ 0.00

 

FETE son estou

By signing here, | declare Wot of perjury that the information on this statement and in any attachments is true and correct.

ST

 

 

X wa
cA of Dap itor t Signature of Debtor 2
Date ( ) | 7 20 OZ , Date
MM/DD /YYYY MM/DD /YYYY

 

 

 

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Capital One Bk USA NA
Po Box 30281
Salt Lake City, UT 84130

CommonWealth Of Kentucky
Dept Of Revenue

Station Number 68

Po Box 1074

FrankFort, KY 40602

Credit Collections Servic
Po Box 607
Norwood, MA 02062

Credit One Bank
Po Box 98872
Las Vegas, NC 89193

Credit Protection Assoc
13355 Noel Rd Ste 2100
Dallas, TX 75240

Education Cabinet

Dept For WorkForce Investment
Division Of Unempolyment Ins
275 E Main St-2 ED

FrankFort, KY 40621

Enhance Recovery Co
Po Box 57547
Jacksonville, FL 32241

Exeter Finance Lic
2101 W John Carpenter FWY
Irving, TX 75063

First Premier Bank
3820 N Louise Ave
Siqux Falls, SD 57107

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Gla Collections
Po Box 991199
Louisville, KY 40269

Guardian Finance
3806 Fishinger Blvd
Hillard, OH 43026

Merchants Preferred LE
5500 Interstate N Pk -
Atlanta, GA 30328

Progressive Leasing
256 Data Dr
Draper, UT 84020

Rumpke, Consolidated
10795 Hughes Rd
Cincinnati, OH 45251

IRS Office Louisville
600 Dr.Martin Luther King Jr,
Louisville, KY 40202
